Case 1:21-cr-00382-PLF Document59 _ Filed 08/04/23. Page1of2

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
v. Criminal No. 21-0382 (PLF)
CHRISTOPHER WARNAGIRIS,
Defendant. )
)
SCHEDULING ORDER

On May 1, 2023, the Court scheduled a bench trial in this case to begin on
November 8, 2023 at 10:00 a.m. in Courtroom 29 in the William B. Bryant Annex to the
E. Barrett Prettyman Courthouse at 333 Constitution Avenue N.W., Washington, D.C. 20001.

It is hereby

ORDERED that pretrial proceedings will be governed by the following schedule:

Date Description

September 18, 2023 The parties shall file any Daubert motions and
motions in limine.

October 2, 2023 The parties shall file oppositions to Daubert
motions and motions in limine.

October 7, 2023 The parties shall exchange trial exhibit lists.

October 10, 2023 The parties shall file replies in support of Daubert

motions and motions in limine.

October 16, 2023, at The Court will hear oral argument on all motions
10:00 a.m., via Zoom | in limine and Daubert motions.
video teleconference

Case 1:21-cr-00382-PLF Document59 _ Filed 08/04/23 Page 2 of 2

October 24, 2023 The parties shall file all objections to trial exhibits
and exchange trial witness lists.

October 31, 2023, at The final pretrial conference will take place in
10:00 a.m. Courtroom 29.

November 8, 2023, at | Trial will commence in Courtroom 29 with
10:00 a.m. opening statements and will continue each
weekday at 10:00 a.m. until concluded.

SO ORDERED.

RL A

PAUL L. FRIEDMAN
United States District Judge

DATE: 3\4 | a>
